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Exhibit D: Videotaped Deposition of Stephen F. Sisolak Las Vegas, Nevada Thursday, August
23, 2018
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         EXHIBIT
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   Stephen F. Sisolak                             United States of America v. County of Clark, et al.

      1                        UNITED STATES DISTRICT COURT

      2                             DISTRICT OF NEVADA

      3

      4     UNITED STATES OF AMERICA,                   )

      5                             Plaintiff           )Case No.
                                                        )2:17-CV-02303-MMD- PAL
      6     vs .
                                                        )
      7     COUNTY OF CLARK and NEVADA                  )
            LINKS, INC.,
      8
                                    Defendants.
      9

    10

    11

    12

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    14                  VIDEOTAPED DEPOSITION OF STEPHEN F. SISOLAK

    15                               LAS VEGAS, NEVADA

    16                           THURSDAY, AUGUST 23,          2018

    17

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    24      Reported by: Holly Larsen, CCR NO.                680,     CA CSR 12170
                         Job No.:  29569
    25

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      1            Q.           the fourth and fifth paragraphs state,

      2      "Sisolak argued that this is why net revenue leases

      3     are troublesome.           I
                                           They (tenants) get to write off

      4     too much of the income as costs,                  he said."

      5                 Do you recall making that statement?

      6            A.   No, sir.

      7            Q.   What was your understanding of the County's

      8     participatory leases?

     9             A.   We had some participatory leases and some

    10      sales that we did.             Participatory leases we were not

    11      guaranteed anything, but we shared in the profits.

    12             Q.   Do you recall how many participatory leases

    13      the County had?

    14             A.   I do not.

    15             Q.   Did you ever review the terms of those

    16      participatory leases with anyone at the County?

    17            A.    I don't recall.

    18             Q-   Do you know if these participatory leases

    19      typically guaranteed a rate of return?

    20                  MR. HARDIN:          Object to the form.

    21                  THE WITNESS:          From what you told me, they

    22     guaranteed a rate of return to the developer.

   23      BY MR. HSU:

   24             Q.    Yes .     That's for this lease.              I'm asking

   25      about other participatory leases and participatory

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      1     leases in general.

      2            A.    I don't know.

      3            Q.    Did you ever direct anyone at the

      4     Department of Aviation to look into why this lease,

      5     the Bali Hai lease,           had not generated any income for

      6     ten years?

      7                  MR. HARDIN:        Object to the form.

      8                  THE WITNESS:          I do not recall that.

     9                   MR. HARDIN:       Are you moving on to another

    10      exhibit?

    11                   MR. HSU:       Yes.

    12                   MR. HARDIN:       We've been going for a little

    13      bit over an hour.           Let's take a break.

    14                   THE VIDEOGRAPHER:         This is the end of

    15      Disc Number 1 in today's videographed deposition of

    16      Stephen F. Sisolak.           The time as indicated on the

    17      video screen,        10:14.    We are off the record.

    18                   (A break was taken.)

   19                    THE VIDEOGRAPHER:         We're back on the

   20       record.      This is the beginning of Disc Number 2

   21       in today's videographed deposition of Stephen

   22       F.   Sisolak.    The time as indicated on the video

   23       screen,     10:27.

   24                   MR. HSU:       Please mark Exhibit Number 8.

   25                    (Exhibit 8 marked.)

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      1     change the video.

      2                 MR. HARDIN:        I could use a restroom break.

      3                 THE VIDEOGRAPHER:          It's the end of Disc

      4     Number 2 in today's videographed deposition of

      5     Stephen F.     Sisolak.       The time as indicated on the

      6     video screen,       11:52.     We're off the record.

      7                 (A break was taken.)

      8                 THE VIDEOGRAPHER:          We're back on the

     9      record.     This is the beginning of Disc Number 3 in

    10      today's videographed deposition of Stephen F.

    11      Sisolak.     The time,       11:58.

    12      BY MR. HSU:

    13             Q.   Do you know who Amy Lueders was?

    14            A.    Yes .

    15             Q.   Who was she?

    16            A.    The lady that I wrote that last letter to

    17      on Exhibit Number 17,         the director.

    18            Q.    Do you remember trying to contact her?                          Do

   19      you remember trying to contact Ms. Lueders around

   20      June 2013?

   21             A.    Not specifically,         no.

   22             Q.    Do you know who Ms. Karla Norris was?

   23             A.    No.

   24             Q.    Do you recall speaking with her?

   25             A.    I do not.

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        1          Q.   Do you recall anything about the subject

      2     matter of this email?

      3            A.   I ' in aware of what my opinion was              but ...

      4            Q-   What was your opinion?

      5            A.   Well,   that I wasn't in favor of these type

      6     of leases, participatory leases.

      7            Q.   Why was that?

     8             A.   Because there was no guaranteed revenue

     9      coming to the County or the BLM.

    10             Q.   Do you recall stating or thinking that a

    11      15 percent rate of return was, quote-unquote,

    12      "crazy"?

    13            A.    I don't remember stating it, but I can

    14      remember imagining that I would certainly love to

    15      get a 15 percent rate of return and I've never heard

   16       of it like this.

   17             Q.    So you've never heard of it like this.

   18       Does that mean other participatory leases of the

   19       County didn't provide this kind of rate of return?

   20                   MR. HARDIN:    Objection.       Lacks foundation.

   21                   THE WITNESS:    I'm not sure what the rate of

   22       return on those leases would have been.

   23                   (Exhibit 19 marked.)

   24       BY MR. HSU:

   25             Q.    It's a longer document.         I only ask you to

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      1                         CERTIFICATE OF REPORTER

      2     STATE OF NEVADA       )
                                  ) SS
      3     COUNTY OF CLARK       )

      4            I, Holly Larsen,      a duly commissioned and

      5     licensed Court Reporter,         Clark County,          State of

      6     Nevada,      do hereby certify:     That I reported the

      7     taking of the deposition of the witness,                    Stephen F.

      8     Sisolak,      commencing on Thursday, August 23,                 2018,      at

      9     9:06 a.m.

    10             That prior to being examined,           the witness was,

    11      by me,      duly sworn to testify to the truth.                  That I

    12      thereafter transcribed my said shorthand notes into

    13      typewriting and that the typewritten transcript of

    14      said deposition is a complete,           true,      and accurate

    15      transcription of said shorthand notes.

    16             I further certify that I am not a relative or

    17      employee of an attorney or counsel of any of the

    18      parties, nor a relative or employee of an attorney

    19      or counsel involved in said action, nor a person

    20      financially interested in the action.

   21              IN WITNESS HEREOF,     I have hereunto set my hand,

   22       in my office,     in the County of Clark,             State of

   23      Nevada,      this 2nd day of September,          2018.

   24

   25                                    HOLLY LARSEN,        CCR NO.       680

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